           Case 1:19-cv-04918-MHC Document 6 Filed 01/02/20 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 MICHAEL MIATA,                                )
                                               )     Civil Action
      Plaintiff,                               )     No. 1:19-cv-04918-CAP
 v.                                            )
                                               )
 BOTTOMS UP RESTAURANT                         )     JURY TRIAL DEMANDED
 GROUP, LLC d/b/a WRAITH,                      )
                                               )
      Defendant.                               )
                                               )
 __________________________________

               PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT

        COMES NOW, Plaintiff Michael Miata (“Plaintiff”), by and through

undersigned counsel, and hereby moves the Court – pursuant to Fed. R. Civ. P. 55(a)

and LR 83.1E(2)(b)(I) & 83.1E(4), ND Ga. – to enter Default against Defendant

Bottoms Up Restaurant Group, LLC d/b/a Wraith. (“Defendant”)

        1. Plaintiff filed his Complaint for Damages against Bottoms Up Restaurant

            Group, LLC d/b/a Wraith on October 31, 2019. [Doc. 1]

        2. Defendant Bottoms Up Restaurant Group, LLC was served by and through

            its registered agent on November 7, 2019. [Doc. 3]
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     3. Defendant Bottoms Up Restaurant Group, LLC’s Answer, motion or other

        response to the Complaint was due on or before November 21, 2019. To

        date, Defendant has not filed a responsive pleading to Plaintiff’s Complaint

        and is therefore in default.

     WHEREFORE, Plaintiff respectfully moves this Court for an entry of Default

     against Defendant Bottoms Up Restaurant Group, LLC d/b/a Wraith.

     Respectfully submitted this 2nd day of January 2020.

                                       BARRETT & FARAHANY

                                       /s/ V. Severin Roberts
                                       V. Severin Roberts
                                       Georgia Bar No. 940504
                                       Attorney for Plaintiff
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           Case 1:19-cv-04918-MHC Document 6 Filed 01/02/20 Page 3 of 3




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 MICHAEL MIATA,                                 )
                                                )     Civil Action
      Plaintiff,                                )     No. 1:19-cv-04918-CAP
 v.                                             )
                                                )
 BOTTOMS UP RESTAURANT                          )     JURY TRIAL DEMANDED
 GROUP, LLC d/b/a WRAITH,                       )
                                                )
      Defendant.                                )
                                                )
 __________________________________

                           CERTIFICATE OF SERVICE
        I certify on this day I filed the foregoing Motion for Entry of Default with the

Clerk of Court using the CM/ECF filing system which will send notification of such

filing to all attorneys of record and sent a copy via U.S. Mail as follows:

                           Bottoms Up Restaurant Group, LLC d/b/a Wraith
                           c/o Beth Whitaker, Registered Agent
                           2233 Addison Park
                           Riverdale, GA 30296

        Respectfully submitted this 2nd day of January 2020.

                                         BARRETT & FARAHANY

                                         /s/ V. Severin Roberts
                                         V. Severin Roberts
                                         Georgia Bar No. 940504
